
*1023OPINION.
Maequette :
The only question raised by this proceeding is whether the salaries of $25,000 and $18,750 paid by the petitioners to Parker in the years 1920 and 1921, respectively, are unreasonably large.
The Revenue Act of 1918 makes the following provision:
Seo. 234. (a) That in computing the net income of a corporation subject to the tax imposed by section 230 there shall be allowed as deductions:
(1) All the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business, including a reasonable allowance for salaries or other compensation for personal services actually rendered * * *.
The question of reasonableness of salaries paid by corporations has been frequently before the- Board and no extended discussion is necessary. The evidence shows that the volume of business was large and that it was due almost entirely to the efforts of Parker. He gave to the business his entire time and energy, with very successful results. Measured by the results accomplished, we think that the salaries paid to Parker for the taxable years in question were not exces*1024sive or unreasonable for the services rendered. See Appeal of Woodcliff Silk Mills, 1 B. T. A. 715; Appeal of Union Dry Goods Co., 1 B. T. A. 833; Appeal of Frank-Sievers Undertaking Co., 3 B. T. A. 94; Appeal of A. R. Swartz &amp; Co., 5 B. T. A. 264.

Judgment will be entered on 15 days' notice, under Bule 50.

Considered by Phillips and Milliken.
